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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IRONWORKS PATENTS LLC,                               Case No. 17-cv-01958-HSG
                                   8                   Plaintiff,                            ORDER GRANTING PLAINTIFF'S
                                                                                             MOTION TO DISMISS CLAIM
                                   9            v.                                           REGARDING ‘125 PATENT
                                  10    SAMSUNG ELECTRONICS CO., LTD., et                    Re: Dkt. No. 120
                                        al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Pending before the Court is Plaintiff’s motion to dismiss one patent from this action. Dkt.
                                  14   No. 120 (“Mot.”). Specifically, Plaintiff seeks dismissal with prejudice of Count III of its

                                  15   complaint relating to United States Patent Number 5,553,125 (the “‘125 patent”). Mot. at 1. The

                                  16   ‘125 Patent expired in 2013. Id. Defendant does not oppose Plaintiff’s request. See Dkt. No. 132
                                       (“Non-Opp.”). Defendant asks only that the Court defer a decision on attorney fees and costs until
                                  17
                                       the Court reaches a final disposition of this action. See Non-Opp. at 1. Plaintiff responds by
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                                       arguing that the Court should decline to award fees and costs to Defendant. Dkt. No. 134 at 1–4.
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                                       The Court finds any award of fees and costs is appropriately addressed at the time of a final
                                  20
                                       disposition of this action. See Fed. R. Civ. P. 54(d) (allowing a prevailing party to recover costs,
                                  21   and permitting an award of attorney fees where appropriate). Plaintiff provides no good cause for
                                  22   the Court to address attorney fees and costs at this stage. The Court thus GRANTS Plaintiff’s
                                  23   motion, and defers the question of fees and costs until it reaches a final disposition of this action.

                                  24   The Court will separately address any counterclaims relating to the ‘125 Patent. See Dkt. No. 101.

                                  25           IT IS SO ORDERED.

                                  26   Dated: 11/16/2017

                                  27                                                     ______________________________________
                                                                                         HAYWOOD S. GILLIAM, JR.
                                  28                                                     United States District Judge
